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                                                    UNITED STATES DISTRICT COURT
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                                                SOUTHERN DISTRICT OF CALIFORNIA
11
12 UNITED STATES OF AMERICA,                                                       )       Case No.14cr3027 AJB
                                                                                   )
13                                       Plaintiff,                                )
     v.                                                                            )       ORDER AND JUDGMENT TO
14                                                                                 )       DISMISS WITHOUT PREJUDICE
     ELIZABETH DELGADILLO (2),                                                     )
15                                                                                 )       (Doc. No. 37)
                                         Defendant.                                )
16                                                                                 )
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                 Upon motion of the United States of America and good cause appearing,
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                 IT IS HEREBY ORDERED that the Information in the above-entitled case be
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     dismissed without prejudice.
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     IT IS SO ORDERED.
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     DATED: November 19, 2014
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25                                                                                         Hon. Anthony J. Battaglia
                                                                                           U.S. District Judge
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     I:\Chambers Battaglia\DJ CASES\2 Orders to be filed\14cr3027 order to dismiss.wpd    1                                          14cr3027
